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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

          -against-
                                               No. 19-CR-533 (LAP)
RICHARD DIVER,
                                                       ORDER
                   Defendant.


LORETTA A. PRESKA, UNITED STATES DISTRICT JUDGE:

    The sentencing scheduled for September 29 is adjourned to

December 3 at 10:00 a.m.

SO ORDERED.

Dated:    September 28, 2020
          New York, New York




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                                          LORETTA A. PRESKA, U.S.D.J.
